            Case 0:22-mj-00009-ABJ Document 7 Filed 02/08/22 Page 1 of 2
                                                                                                           FILED



                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF WYOMING                                                           11:28 am, 2/8/22

                                                                                                     Margaret Botkins
                                                                                                      Clerk of Court
UNITED STATES OF AMERICA

Plaintiff

                          vs.                             Case Number: 22-mj-09-ABJ

JOSEPH BEECHER

Defendant.

Date 2/8/2022           Time 11:05 - 11:17 AM             Before the Honorable        Kelly H. Rankin

         Indictment             Information        ✔   Complaint          Arraignment           Rule 5

 ✔   Initial Appearance           Detention Hearing           Preliminary Hearing         Removal Hearing

        Other

     Offense:Kidnapping



         MiYon Bowden                            FTR Recording                      Kristen Simmer
                Clerk                         Digital Recording                     Probation Officer

       Margaret Vierbuchen                       Jon Goodman                              N/A
       Asst. U.S. Attorney                          Marshal                            Interpreter

Appeared           Voluntarily        ✔   In Custody

✔    Defendant filed financial affidavit and is informed of consequences if any false information is given.

Attorney appearing
     FPD        PANEL-CJA            RETAINED           WAIVED
Initial appearance               Date 2/8/2022
(Comments) Defendant advised of his rights and charges.




WY53                                                                                            Rev. 01/19/2022
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MAGISTRATE CRIMINAL PROCEEDING SHEET




✔   Defendant committed to custody of U.S. Marshal
    Preliminary hearing waived
    Preliminary / Final revocation hearing waived
    Removal hearing waived

    Arraignment set for:
Date                           Time                  Judge

✔   Preliminary hearing set for: Date 2/11/2022                 Time 2:45 PM
Judge Kelly H. Rankin                  in Cheyenne, Wyoming (Courtroom3)

    Revocation hearing set for: Date                            Time
Judge                                  in

✔   Detention hearing set for:
Date 2/11/2022                 Time 2:45 PM          Judge Kelly H. Rankin

    Removal hearing set for:
Date                           Time                  Judge

    Court orders defendant held to answer to U.S. District Court, District of
    Other




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